Case 2:03-cV-02569-BBD-tmp Document 338 Filed 05/11/05 Page 1 of 3 Page|r|§) 319

IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

     

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BOBBIE CARRj W.U. @|": '§`i`-]. i-.t`e§f\."ii:¥il$

Plaintii`f,
vs. No. 03-2569-D/P
HOME TECH SERVICES, CO. lNC., et al.,

Defendants.

 

ORDER GRANTING NOVASTAR MORTGAGE, INC.’S
MOTION FOR LEAVE TO FILE SUPPLEMENTAL MEMORANDUM

 

This matter came before the Court upon the Motion of Defendant, NovaStar Mortgage,
Inc. (“NovaStar”), for leave to tile a Supplernental Melnorandum in support of its Motion for

Discovery Sanctions or in the Alternative to Cornpel Discovery.

Upon due consideration of this matter, it appears that NovaStar’S Motion should be

granted

IT lS THEREFORE, ORDERED, ADJUDGED, AND DECREED that the Motion of
NovaStar Mortgage, Inc., for leave to file a Supplernental l\/Iemorandum, is Granted. Exhibit l

to the Motion is hereby accepted as iiIed.

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UNi’TED STAT'ES M§§ISTRATE JUDGE

DATE: §/ ll / °y

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W¢m ama se and/or 79(3) FHCP on 5 -'l§ '55 § )33

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Notice of Distribution

This notice confirms a copy of the document docketed as number 338 in
case 2:03-CV-02569 Was distributed by faX, mail, or direct printing on
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EssEE

 

John S. GolWen

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

Webb A. Brewer

1\/[E1\/[PH[S AREA LEGAL SERVICES, INC.
109 N. Main Street

Ste. 201

1\/1emphis7 TN 38103

Bruce E. Alexander

WEINER BRODSKY SIDMAN KIDER, P.C.
1300 19th Street, N.W.

5th floor

Washington, DC 20036--160

Jennifer Shorb Hagerman
BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Roscoe Porter Feild

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Christopher S. Campbell

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103

Loys A. Jordan
MCDONALD KUHN
119 South Main St.
Ste. 400

1\/1emphis7 TN 38103

Case 2:03-cV-02569-BBD-tmp Document 338 Filed 05/11/05 Page 3 of 3 Page|D 321

W. Timothy Hayes

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/1emphis7 TN 38103

Virginia M. Patterson

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/1emphis7 TN 38103

Kristen C. Wright

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

Mitchel H. Kider

WEINER BRODSKY SIDMAN KIDER, P.C.
1300 19th Street, N.W.

5th floor

Washington, DC 20036--160

Sapna V. Raj

1\/[E1\/[PH[S AREA LEGAL SERVICES, INC.
109 N. Main Street

Ste. 201

1\/1emphis7 TN 38103

John L. Ryder

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103

Evan Nahmias
MCDONALD KUHN
119 South Main St.
Ste. 400

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

